 

Case 2:14-cv-O7724-PA-P.]W Documelgt 1-1 § Filed 10/06/14 Page 1 of 26 Page |D #:3
1 DAJHAR JOHNSON
2 4341 S. MORGAN AVENUE
3
4 LOS ANGELES, CA 90()11
5 (213) 842=3782
6
7
UNITED STATES DISTRICT COURT
8 CENTRAL DISTRICT OF CALIFORNIA
9
DAJHAR JOHNSON, an C V j game @0? ? 2 4
10 . .
Indlviduai; )
11 Plaintiff, ) CGMPLAINT F()R:
12 )
VS. ) Unlawful DEBT COLLECTION
13 )
14 HSBC BANK USA, ) PRACTICES
15 NATIONAL A¥SSOCIATION )
m §§’.A,’ )
16 :’ § ) FAIR DEBT CoLLECTIoN
§§ §§ §§:f£ ) PRACTICES ACT
§ § ;:i§ )
§§ ’“§" :§: § ) FAIR CREDIT REPORTING ACT
:-:19 § §§ § >
;=:: §§ .§ )
20 §§ aj“"" § ) Jury Trial Demanded: Yes
21 DEFENDANT(S). §
22
23 I. COMPLAINT INTRODUCTION
24 l. This is an action for damages brought by an individual consumer against
25
26 Defendant for violations of the Fair Debt Collection Practices Act, 15 U.S.C.. §
27 1692, et seq. (FDCPA) and the California Rosenthal Act, Civil Code § 1788 et
28
PLAINTIFF DAJHAR JOHNSON COMPLAINT

 

 

 

 

 

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seq. ( Rosenthal Act ) both of Which prohibit debt collectors from engaging in
abusive, deceptive, and unfair practices

2. This is an action for damages brought by an individual consumer against
Defendant for violations of the Pair Credit Reporting Act, 15 U.S.C. § 1681, et
seq. (FCRA) Which prohibits liirnishers from reporting false and inaccurate
information

II. JURISDICTION AND VENUE

3. This Court has jurisdiction under: 15 U.S.C. sec. 1692 k (d), 28 U.S.C.
sec. 1331, and 28 U.S.C. sec. 1337. Supplemental jurisdiction exist for the state
law claims pursuant to 28 U.S.C. § 1367. Venue is proper pursuant to: 28 U.S.C. §
1391(b) Where that the defendant transact business here and the conduct

complained of occurred here.

IlI. PARTIES
4. Plaintiff DAJHAR JOHNSON is a natural person resided at
California. Plaintiff is a consumer Within the meaning of 15 U.S.C. sec. 1692 a
(3), 15 U.S.C. § 1681 a (c).
5. Defendant: HSBC BANK, NATIONAL ASSOCIATION is a “debt
collector” Within the meaning of 15 U.S.C. sec 1692 a (6); a furnisher of
information Within the meaning 15 U.S.C. § 1681 a (b) doing the business of

collecting debts in California, operating from an address: P.O. BOX 5253

PLAlNTlFF DAJHAR JOHNSON COMPLAINT 2

 

 

 

 

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2 CAR()L STREAM, lL 60197.
3 6. Defendant is engaged in the collection of debts from consumer using
: the mail and telephone Defendant regularly engaged as furnishers of
6 consumer Transunion, and Experian credit file. Defendant regularly attempt
7 to collect consumer debt alleged to be due to another. Defendant is a “debt
: collector” as defined by the FDCPA, 15 U.S.C. § 1692a (6), by the Rosenthal
10 Act, California Civil Code 1788.2 (c).,, and furnisher of information defined by
:; the 15 U.S.C. § 16813-2.
13 7. Defendant is all entities or individuals Who contributed to or
14 participated in, or authorized the acts or conspired With the name Defendant to
:: commit the acts and do the things complained of Which caused the injuries and
17 damages to Plaintiff as set forth beloW. Each of the parties, named and fictitious,
:: acted as principal and agent, each of the other, and combined and concurred
20 each With the other in committing the acts that injured the Plaintiff.
21 8. The true names and capacities, Whether individual, corporate (including
:: officers and directors thereof), associate or otherwise of Defendant sued herein
24 as DOES 1 thru 5, inclusive, are unknown to plaintiff, Who therefore sues this
25 Defendant by such fictitious names. Plaintiff is informed and believes, and all
26
27 alleges that each Defendant designated as D()E is involved in or is in some
28 manner responsible as a principal, beneficiary, agent, co-conspirator, joint
PLAlNTlFF DAJHAR JOHNSON COMPLAINT 3

 

 

 

 

 

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venturer, alter ego, third party beneficiary, or otherwise, for the agreements,
transactions, events and/or acts hereinafter described, and thereby proximately
caused injuries and damages to Plaintiff. Plaintiff requests that When the true
names and capacities of these DOE Defendants are ascertained, they may be
inserted in all subsequent proceedings, and that this action may proceed against
them under their true names.
9. Plaintiff is a “consumer “ as defined by the FDCPA, 15 U.S.C. l692a(3).
10.The purported debt that Defendant attempted to collect from Plaintiff Was
a “debt” as defined by the FDCPA, 15 U.S.C. § 1692a(5).
11.P1aintiff is a “debtor” as defined by the Rosenthal Act, California Civil
Code 1788.2(h). j
12. The purported debt Which defendant attempted to collect from Plaintiff
Was a “consumer debt” as defined by the Rosenthal Act, California Civil
Code § 1788.2(f)
13. Experian, and Transunion is a credit reporting agency Within the
meaning FCRA 15 U.S.C. § 1681a(f)
14. Consumer credit report is a consumer report Within the meaning of the
FCRA 15 U.S.C. § 1681 a (d)
15.P1aintiff has never had any business dealing or any accounts With made

applications for credit from, made application for employment With, applied for

PLAINTIFF DAJHAR JO}H\ISON COMPLAINT

 

 

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insurance from or received a bonafied offer of credit nom the defendant .

IV. STATEMENT OF FACTS
16.0n January 19, 2014 Plaintiff upon requested Equifax, Transunion,
EXperian consumer credit report; Plaintiff discovered entries by entities had no
knowledge of any business relationship with named defendant in the report.
17. Defendant HSBC BANK UsA, NATioNAL AssociATIoN
prepared and issued consumer credit reports concerning plaintiff which
included inaccurate information acct. # 70011919XXXX in the amount
of a charge off in violation 15 U.S.C. sec. 1681 g (d) (2) 15 U.S.C. sec. 1692
e (10).
18. Defendant issued and re-aged plaintiff account # 70011919XXXX
by updating the date of last activity on credit reporting in hopes of
keeping negative information on plaintiff consumer credit report longer _
FCRA sec. 605 (c-) running of the reporting period. Said action thereby
damaged Plaintiff by causing Plaintiff credit score to decline resulting in
Plaintiff having to pay higher insurance premiums
l9. On February 4, 2014 Plaintiff sent via United States Postal Service
Certified Mail letters disputing inaccurate information to 2 credit reporting

bureau agencies On February 04, 2014 Plaintiff sent 1St notice to HSBC BANK

PLAINTIFF DAJHAR JOHNSON COMPLAINT

 

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USA, NATIONAL ASSOCIATION requesting formal debt validation upon 30
day notice to reply in accordance with (FDCPA)IS U.S.C. sec. 1692g, 15 U.S.C.

sec. l681i, also informing defendant of their violations of the FCRA.

20. Plaintiff in a good faith effort to allow defendant HSBC BANK

USA, NATIONAL ASSOCITATION ample opportunity to validate alleged debt,
and take notice of their violations of the FDCPA. On l\/larch 13, 2014 Plaintiff sent
second letters Via certified mail upon 10 day notice response Defendant HSBC
BANK USA, NATIONAL ASSOCIATION has been regularly reporting a
collection account on Plaintiff consumer reports credit history inaccurately without

validating the alleged debt U.S. COURT OF APPEALS NINTH CIRCUIT No.

00-15946 Nelson V. CHASE MANHATTAN. Defendant violated 15 U.S.C. sec.

1692 e (2) by falsely representing the character, amount, or legal status of any

debt.

21. As a result of the acts alleged above, Plaintiff suffered increased
symptoms of chronic health conditions including high blood pressure, severe
stress related symptoms, including but not limited to nervousness, worry, severe
unhappiness, loss of appetite, weight loss, and interference with intimate

relationship

22. Discovery of violations brought forth herein occurred in January 2014 and

PLAINTIFF DAJHAR JOHNSON COMPLAINT 6

 

 

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and are Within the statute of limitation, as defined in the FCRA 15 U.S.C. §

issip; FDCPA 15 U.s.C. § 1692 k (a

V. CAUSES ()F ACTION

FIRST CAUSE OF ACTION
( As against Defendant for Violations of FDCPA)

(As against Defendant(s): HSBC BANK USA, NATIONAL
ASSOCIATION

23. Plaintiff re-alleges and incorporates by reference all of the foregoing
paragraphs

24.Defendant violated the FDCPA. Defendants violations include, but are
not limited to, the following:

(a) The Defendant violated 15 U.S.C. § 1692d by engaging in conduct
the natural consequence of which is to harass, oppress, and abuse persons in
connection with the collection of the alleged debt;

(b) The Defendant violated 15 U.S.C. § 1692e(2) by misrepresenting the
legal status of the debt;

(c ) The Defendant violated 15 U.S.C. § 1692e(10) by using a false
representation and deceptive means to collect or attempt to collect any debt or to

obtain information regarding a consumer;

PLAINTIFF DAJHAR JOHNSON COMPLAINT

 

 

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(d) The Defendant violated 15 U.S.C. § 1692 f by using unfair or
unconscionable means to collect or attempt to collect a debt;
(e) 'Ilie Defendant violated 15 U.S.C. § 1692f(1) by attempting to

collect an amount not permitted by law.

25. As a result of the above violations of the FDCPA, Defendant is liable
to the Plaintiff for Plaintiff s actual damages, statutory damages, and court fees

and costs Pursuant to 15 U.S.C. § 1692k

SEC()ND CAUSE OF ACTION
(As against Defendant for Violation of the Rosenthal Act)

As against Defendant(s): HSBC BANK USA, NATIONAL ASSOCATION

26. Plaintiff re-alleges and incorporates by reference all of the foregoing
paragraphs
27. Defendant violated the Rosenthal Act, by including, but not limited to,
the following:
(a) the Defendant violated California Civil Code § 1788.,17 by failing
to comply with the FDCPA as alleged above;
(b) Defendant acts as described above were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

PLAINTIFF DAJHAR JOHNSON COMPLAINT 8

 

 

 

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(c)Defendant violations of the Rosenthal Act were willful and knowing.
Defendant is therefore liable to Plaintiff for Plaintiff’ s actual damages,
statutory damages, court fees and costs pursuant to California Civil Code §

1788.30.

V. REQUEST FOR RELIEF

28. That this court grant judgment against defendant for first claim for relief
1) Actual damages determined by jury 2.) Punitive & Statutory damages 15
U.S.C. sec. 1692 d (l) 1692 f (6) Remedies 1692 k $l,000.00 per

statute 3.) legal cost and fees. 4.) Any relief as the court see fit.

Date: jQ/»Q/j/;,/

 

Print Name: Og/é§{\ Héf§i§§!i

DEMAND FOR JURY TRIAL

Plaintiff hereby request a jury trial on all issues raised in this complaint

PLAINTIFF DAJHAR JOHNSON COMPLAINT

 

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Date:i@/Oéi/f]!

Sign:

Print Name: j@kn$©h

PLAlNTIFF DAJHAR JOHNSON CGMPLA!NT 19

 

 

 

 

 

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DAJHAR J. JOHNSON
4341 S. MORGAN AVE
LOS ANGELES, CA 90011

HSBC Bank
P.O. Box 5253
Caro| Stream, lL 60197

1/28/2014

Re: Acct # 70011919****

Amount; $ 0.00/ Charge Otf

To Whom lt May Concern;

This is not a refusal to pay, but a notice that your claim is disputed.

Under the Fair Debt Collections Practices Act (FDCPA), l have the right to request validation of
the debt you say l owe you. l am requesting proof that l am indeed the party you are asking to
pay this debt, and there is some contractual obligation which is binding on me to pay this debt
Below are a few questions to answer which may help you to resolve these mistakes

You should also be aware that reporting such invalidated information to major credit bureaus
might constitute defamation of character, as the negative marks on my credit report harm my
credit and prevent me from enjoying all the benefits of good credit l'm sure your legal staff will
agree that non-compliance with this request could put your company in serious legal trouble with
the FTC and other state or federal agencies

ln addition to the questionnaire below, please attach copies ot;

Agreement with your client that grants you the authority to collect on this alleged debt
Agreernent that bears the signature of the alleged debtor wherein he agreed to pay the
creditor.

Any insurance ciaims been made by any creditor regarding this account

Any judgments been obtained by any creditor regarding this account

Best regards

Dajhar J. Johnson

 

 

 

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Debt Vaiidation Form

Questionnaire to be returned to me for Account #<insert account number here>

 

Original Creditor’s Name:

Narne ot Debtor:

 

Address of Debtor:

 

Balance of Account:

 

Daie you acquired this debt

 

This Debt was: assigned purchased
Piease indicate any credit bureaus to which you have reported negative marks:
EXperian

Equifax
TransUnion

.=»..___.._.

 

 

   
  
 

 

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DA.}HAR J, JOHNSON
434'1 S. MORGAN AVE
LOS ANGELES, CA 9001'1

HSBC Bank
P.G. Box 5253
Carol Stream, lL 60197

3/15/2014

Re: Acct # 7001 1919****
To Whom It May Concem:

l have previously sent you a request to validate my debt, account number 70011919**** on
February 04,`2014. Under the Fair Debt Collections Practices Act (FDCPA), l have the right to
request validation of the debt you say I owe you. I have given you 30 days to remedy the
situation, which is a very reasonable period. 1 have received no reply from you, though 1 did
receive continuation via mail that you did receive my letter on February 10, 2014.

Sinceyou are still reporting this account on my credit report, you are now in violation of the
FCPDA, rand are now subject to fines of $1000, which l may collect from you by filing a claim in
small claims court. 1 intend to follow through with the suit if l do not hear back from you within
10 days

You should also be aware that reporting such invalidated information to major credit bureaus
might'constitute defamation of character, as the negative marks on my credit report harm my
credit and prevent me from enjoying all the benefits ot good credit I‘m sure your legal staff will
agree that non-compliance with this request could put your company in serious legal trouble with
the Fl'C and other state or federal agencies

l look forward to hearing from you,

Dajhar .lohnson
(Without Prejudice)

4341 MORGAN AVE
LOS ANGELES, CA 90011

 

 

 

 

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Daj?har d dohnson's
1119!2014 3-Bureau Credit Report with Scores

Accounts (cont.)

 

Account Name:
Account #:
Payment Status:
Account qlype:
Baiance:

Date Open;

7 l_ast Updated:
Account Status:
Terms:

Phone #:
Address:

Ownership:
Original Crediton
Company Sold~to:
Credit l.imit:
Monthly Payment:
Past Due Amount:
l-ligh Balance:
Balloon Payment:
Comments:

24-lillonth Payment History

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Experian
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Transljnian

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Experian . Equifax

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HSBC/BSBUY
700119192?37XXXX
Past due 180 days
Retail Card

No match found

10/01/2008
04/01!201 ‘l

Revolving
(800) 695-6950
PG BOX 5253

$1800

2014

Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec .lan Feb Mar Apr May Jun .lul Aug Sep Oct Nov Dec dan

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TransUnion

No match found

 

 

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Dajhar J Johnson‘s
1119/2014 3-Bureau Credit Report with Scores

Ac.,counts` (cbnt.)

Experian f , quifax , TransUnion

§§ HSBC/BSTBY (soo) 695»6950

 

Account Name: No maich found. No match found. HSBC/BSTBY
Account #: 70011919XXXX
Payment Status: Charged off as bed debt
Account Type: Unknown
Balance: $O
Daie Open: 10/17/2008
L.ast Updated; 01/01/0001
Account Status: -
Terms:
Phone #: (800) 695-6950
Address: PO BOX 30253
Ownership: -
Grigina¥ Creditor. ~
Company Soid~to: -
Credit Limit: $1800
Month¥y Payment: ~
Past Due Amount: ‘ $O
High Ba!ance: $1800
Ba¥foon Payment: , -
Comments: ~

24-Month Payment History

2013 v ` ~ W ~2014

Feb Mar Apr May Jun Ju'l 'Aug Sep:Oct Nov Dec Jan Feb_Mar Apr May Jun Jul Aug Sep Oct Nov Dec dan

    

EXperian
Equifax
Transunion

 

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Dajhar Jemme Johnson‘s
6/17/2914 3-Bureau Cred§t Report with Scores

Accounts (cont.)

 

Account Name:
Account`#:
Payment Status:
Account Type:
Balance:

Date Open:

Last Updated:
Account Status:
Terms:

Phc>ne #:
Address:

Ownership:
Origina| Creditor:
Company SoId-to:
Credit Limit'.
Monihly Payment;
Past Due Amount:
High Balance:
Ba|!oon Payment:
Commenis:

24-Month Payment History

201 2

' HSBC/stqu ('338),335~8¥916,, ~

EXperian Equifax

HSBC/BSBUY
7001 1 9192737XXXX
Credit line closed
Retai! Card

$0 '

10/01/2008
03/01/201 1
Closed
Revo!ving
(888) 385-8916
PO BOX 9

7 No match found

$1800

$O
$1 800

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TransUnion

No match found.

7 2014

Jul Aug Sep Oct Nov'Dec dan Feb Mar Apr May Jun Jui Aug Sep Oct Nov De¢: Jan Feb Mar Apr May Jun

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TransUnion

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j Bfaj§har Jes'ome Johnson’s
§?1?12014 3-Bweau Credit Report w§€h Scores

Accounts (cont.)

Experian Equ_ifax Transunion

:§§‘ HSBC/BSTBY (838) 385-891§ ,

   

Account Name: No match found. No match found. HSBC/BSTBY
Account #: 7001 1919XXXX
Payment Status: Payment after charge off/
coi|ection
Account Type: Unknown
Balance: $0
Date Open: 10/17/2008
Last Updated: 01/01/0001
Account Status: C!osed
Terms:
Phone #: {888) 385-8916
Address: 530 BOX 9
Ownership: ~
Original Creditor: -
Company So!d-to: ~
Credi€ Limit: $1800
Monthly Payment: -
Past Due Amount: $0
High Baiance: $1800
Balloon Payment: ~
Comments: _

24-Month Payment History

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Experian
Equifax
TransUnion

 

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DAJHAR J. JOHNSON

434l S. MORGAN AVE

LOS ANGELES, CA 90011

(213)842-3'782

January 28, 2014

EXPERIAN

P.O. Box 2002

ALLEN, TX 75013

l am disputing the following items:

l. {MIDLAND FUND and account # 855254****]

2. [MIDLAND FUND and account # 855029****]

3. [XEROX STATE & LOCAL SO and account # l7CA4DSX'7252()l ****]

4. [XEROX STATE & LOCAL SO and account # l7CA5YKRlO7200****]

5 . [CAPITAL ()NE and account # 51780593****]

6. [HSBC/BSBUY and account #700119192737****]

Please provide me With a description of the reinvestigation procedure for all items. Please
provide me With the source of information for all items. Please send me all information in my
consumer file. Please Send me an updated copy of my credit report Thank you for your
cooperation in advance

Sincerely,

DAJHAR J. JOHNSON
61 l-72-6552

P.S. Please find enclosed a copy of my Drivers License and bill statement to verify my identity.

 

 

 

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DAJHAR JOHNSON

4341 S. MORGAN AVE

LOS ANGELES, CA 90011

(213)842-37 82

January 28, 2014

Transunion Consumer Relations

P.O. Box 2000

Chester, PA 19022-2000

1 am disputing the following items:

1. [MIDLAND FUND and account # 855254****]

2. [MIDLAND FUND and account # 855029****]

3. [CAPITAL ONE and account # 51780593****]

4. [HSBC/BSTBY and account # 70011919****]

Please provide me With a description of the reinvestigation procedure for all items. Please
provide me With the source of information for all items. Please send me all information in my
consumer file Please send me an updated copy of my credit report Thank you for your
cooperation in advance

Sincerely,

DAJHAR J. JOHNSON
61 1-72-6552

P.S. Please find enclosed a copy of my Drivers License and bill statement to verify my identity.

 

 

 

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HSVS Cettitied dail #:
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Restricted Delivery Fee ii
(Endorsement Required) §-

 

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C’ase 2:14-cv-O7724-PA-P.]W Document 1-1 Filed 10/06/14 Page 24 of 26 Page |D #:26

UN|TED STATES DlSTR|CT COURT, CENTRAL DlSTRiCT GF CAL|FORN|A
CIV|L COVER SHEET

i. (a) PLA|NT|FFS ( Check box if you are representing yoursell;l@ ) DEFENDANTS ( Check box if you are representing yourself \:] )

@diidiédi` ;;SZQS§§ H§&:” BQ’?}<? Cd'§i:l fdiz)l)’aae} Fiis;<:aelei§iinr’i

(b) Codnty of Residence of First Listed Plaintiff < f g Qj:;`_; County of Residence of First Listed Defendant jail/§ §¢;aa; §§

 

(EXCEPTIN U.S. PLA/NTIFF CASES) (IN U.S. PLAINTIFF CA$ES ONL Y)
(C) Attorneys (Firm Name, Address and Te/ephone Number) lf you are Attorneys (Firm Name, Address and Telephone Number) lf you are
representing yourself, provide the same information representing yourself, provide the same information

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2. U.S. Government 4. Diversity (lndicate Citizenship Citizen or Subject of a
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Defendant I:|ol” Parties in item lll) FOf€ign COW\W m 3 m 3 oreign Nation ij m
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V. REQUESTED IN COMPLA|NT: JURY DEMAND: § Yes \:} No (Ch€Ck "Yes" On|y if demanded in Complainl!.)

cLAss AcnoN under F.R.,cv.i>. 23: ;:]Yes [g'No [] MoNEY oEMANoED m coMPLAiN'r: $ fsi, é’?@é;y(~:?é;
Vl. CAUSE OF ACT|ON (Cite the U. S Clvi| Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional siatutes unless diversity.)

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Vll. NATURE OF SU!T (Place an X m one box only)

  
 

  

                 
     
       
  

   

     
    

    
  
 
 

     

  
 
 
 
  
    
  

    

 

 

  
  
 
 
 

 

         

     

 
 
 

 

 

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FOR OFFlCE USE ONLY: Case Number: d
CV-71 (05/14) ClVlL COVER SHEET Page 1 of 3

 

 

 

C‘ase 2:14-cv-O7724-PA-P.]W Document 1-1 Filed 10/06/14 Page 25 of 26 Page |D #:27

UN|TED STATES DlSTRICT COURT, CENTRAL DISTRlCT OF CAL|FORNIA

C|VIL COVER SHEET

V"l. VENUE: Your answers to the questions below will determine the division of the Court to which this case Will be initially assigned. This initial assignment is subject
to change, in accordance with the Court’s General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTlON A: Was this case removed
from state court?

[:l Yes § No

 

 

if "no, " skip to Question B. if "yes," check the
box to the right that applies, enter the

 

corresponding division in response to
Question E, below, and continue from there.

QUEST|ON B: ls the United States, or
onerof its agencies or employees, a
PLA|NT|FF in this action?

l:] Yes §§ No

 
 

B.`i. Do 50% or more of the defendants who reside in
the district reside inOrange Co.?

->

check one of the boxes to the right

l:] l_os Angeles, Ventura, Santa Barbara, or San Luis Obispo WeSt€m
f:i Orange Southern
|:I Riverside or San Bernardino Eastern

 

 

  

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

if “no, " skip to Question C. If "yes," answer
Question B.l, at right.

QUESTlON C: ls the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

f:l Yes § No

B.Z. Do 50% or more of the defendants Who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

-i>

 
 

C.l. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

->

check one of the boxes to the right

\’ES. Your case will initially be assigned to the Eastern Division.
Enter "Eastem" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

  

YES. Your case will initially be assigned to the Southern Division.
Enter “Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.Z.

 

if "no, ” skip to Question D. if "yes," answer
Question C.l, at right.

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

->

check one of the boxes to the right

 

     

indicate the location(s) in which SO% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern“ in response to Question E, below, and continue
from there.

 

 

NG. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

apply

 

l:] Yes

Enter “Southern" in response to Question

 

indicate the location(s) in which 50% or more of defendants who reside in this
districz; reside. (Check up to two boxes, or leave blank if none of these choices

D.1 . ls there at least one answer in Column A?

lf "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.

if "no," go to question DZ to the right.

Enter the initial division determined by Question A, B, C, or D above: -}

 

ENO

E, below, and continue from there.

->

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, Or San Luis Obispo counties?

 
 
  
 

D.2. ls there at least one answer in Column B?

   

if "yes," your case will initially be assigned to the

Enter “Eastern" in response to Question E, below.
lf "no," your case will be assigned to the WESTERN DlVlSlON.

Enter "Western" in response to Question E, below. 3

   
   
   
  
   
 
 

l:l Yes ENO

EASTERN DlVlSlON.

 

 
 
    
     

i:l Yes HNQ

 

CV-71 (06/14)

CIV|L COVER SHEET

Page 2 of 3

‘ d Case 2:14-cv-O7724-PA-P.]W Document 1-1 Filed 10/06/14 Page 26 of 26 Page|D #:28

UN|TED STATES DlSTR|CT COURT, CENTRAL DlSTRlCT OF CAL|FORN!A

 

ClVlL COVER SHEET
lX(a). lDENTlCAL CASES: Has this action been previously filed in this court? , § NO ij YES
lf yes, list case number(s):
IX(b). RELATED CASES: ls this case related (as defined below) to any cases previously filed in this court? § NO ij YES

 

if yes, list case number(s):

 

Civil cases are related when they: (1) arise from the same or a closely related transaction happening or event; (2) call for determination of

the same or substantially related or similar questions of law and fact; or (3) for other reasons would entail substantial duplication of labor if

heard by differentjudges. That cases may involve the same patent trademark, or copyright is not, in itself, sufficient to deem cases related
§

j ry DATE; §@i @é£i §

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3~1. This Form CV~71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions see separate instruction sheet (CV*07l A).

 

 

X. SlGNATURE DF ATTORNEY
(CR SELF-REPRESENTED L|T|GANT): ja

    

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) underTit|e 18, Part A, of the Socia| Security Act, as amended. Also,
861 HlA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.

(42 U.S.C. l935FF(b))
862 BL All c)laims for "Black Lung" benefits under Title 4, Part`B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923

 

All claims filed by insured workers for disability insurance benefits underTitle 2 of the Social Security Act, as amended; plus

 

863 D|WC all claims filed for child's insurance benehts based on disability. (42 U.S.C. 405 (g))

863 D'WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended (42 U.S.C. 405 (g))

864 5le All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended

865 RSl All claims for retirement (o|d age) and survivors benefits under Title 2 of the Social Security Act, as amended

(42 u.s.c. 405 (g))

 

 

CV=-?‘l (06/14) CIV|L COVER SHEET Page 3 of 3

